            Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 1 of 16




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

            v.                                                    Criminal Action No. 21-214 (JDB)
  JOSEPH LINO PADILLA,
  also known as “Jose Padilla,”
            Defendant.


                                       MEMORANDUM OPINION

        Defendant Joseph Lino Padilla is charged via indictment with 12 offenses related to the

breach of the United States Capitol on January 6, 2021. Padilla has filed three motions seeking

(1) dismissal of one count of the indictment, (2) an evidentiary hearing and discovery in support

of a selective prosecution claim, and (3) revocation of his detention order and reopening of his

detention hearing. For the reasons explained below, the Court will deny each motion.

                                                 Background1

        Padilla participated in the breach of the U.S. Capitol on January 6, 2021 in protest of the

2020 presidential election results. See Statement of Facts [ECF No. 1-1] (“SOF”) at 1–2, 9. On

January 6, the U.S. Congress was convened in the Capitol for a joint session to certify the electoral

vote count. Id. at 1. The joint session began at approximately 1:00 p.m. and was supposed to

continue throughout the afternoon. See id. However, in the early afternoon, a large crowd gathered

outside the Capitol. Id. Despite the presence of barricades and U.S. Capitol Police (“USCP”)

attempting to keep the protesters out of the Capitol and away from the building, the crowd

overwhelmed the USCP and forced their way into the Capitol around 2:00 p.m. Id. Shortly after,


        1For a more fulsome description of the facts of this case, see United States v. Padilla, 538 F. Supp. 3d 32,
35–38 (D.D.C. 2021).

                                                         1
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 2 of 16




at around 2:20 p.m., members of the House of Representatives and Senate, as well as then-Vice

President Michael Pence, were forced to evacuate and effectively suspend the joint session. Id.

       Video footage shows Padilla participating in the riot at the Capitol on January 6. See SOF

at 2–8. The footage starts around 1:31 p.m. and shows Padilla, wearing a scuba mask, approaching

a metal barricade in front of a line of Metropolitan Police Department (“MPD”) officers protecting

a restricted area of the Capitol grounds. Id. at 3. After being forced back by an MPD officer,

Padilla proceeded to push the barricade and yelled, “Push! Push! F***ing push!” Id. At 1:38 p.m.,

MPD officers removed Padilla’s scuba mask and struck him with batons to prevent him from

breaching the barricade. Id. at 4. Padilla then receded from the barricade and began helping other

rioters move a large metal sign on wheels toward the barricade by grabbing onto it. Id. at 5.

Approximately three hours later, video shows Padilla holding a flagpole in front of the archway of

the Lower West Terrace Doors. Id. at 6. He launched the flagpole toward officers who were

simultaneously being attacked by other rioters. Id. at 6–8.

       Shortly after January 6, Padilla made several social media posts referencing his

participation in the Capitol riot. See SOF at 9. Specifically, Padilla said he and others “push[ed]”

officers in addition to pushing “the rails,” “the stairs,” and “the doorway.” Id. He “th[a]nk[ed]

God the guys on the left of the [Capitol] building were able to push up the stairs . . . and start

knocking on the Capitol Building doors.” Id. He described the “guy[s] breaking the windows” as

“Patriots trying to find a new way in so we could flank the cops who were holding the doorway.”

Id. He noted that

       [i]f we could have occupied the Capitol, we could have invoked the right given to
       us in the 2nd paragraph of the Declaration of Independence . . . . We would have
       been in the Seat of Power. All we would need to do is declare our grievances with
       the government and dissolve the legislature, and replace it with Patriots who were
       there. Then simply re-adopt the Constitution with amendments added to secure
       future Federal elections.


                                                 2
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 3 of 16




Id.

       A grand jury returned a 12-count indictment against Padilla. See Indictment [ECF No. 48].

The indictment charges him with three counts of civil disorder, in violation of 18 U.S.C.

§ 231(a)(3) (Counts Two, Four, and Six); two counts of assaulting, resisting, or impeding certain

officers using a dangerous weapon, in violation of 18 U.S.C. § 111(a)(1) and (b) (Counts Three

and Five); assaulting, resisting, or impeding certain officers, in violation of 18 U.S.C. § 111(a)(1)

(Count One); obstruction of an official proceeding and aiding and abetting, in violation

of 18 U.S.C. §§ 1512(c)(2) and 2 (Count Seven); entering and remaining in a restricted building

or grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1) and

(b)(1)(A) (Count Eight); disorderly and disruptive conduct in a restricted building or grounds with

a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A) (Count Nine);

engaging in physical violence in a restricted building or grounds with a deadly or dangerous

weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A) (Count Ten); disorderly conduct in

the Capitol grounds or buildings, in violation of 40 U.S.C. § 5104(e)(2)(D) (Count Eleven); and

an act of physical violence in the Capitol grounds or buildings, in violation of 40 U.S.C.

§ 5104(e)(2)(F) (Count Twelve). See id.

       On March 31, 2021, following a detention hearing, Magistrate Judge Zia Faruqui ordered

that Padilla be detained pending trial based on his finding that Padilla is a danger to the community.

See Mar. 31, 2021 Min. Entry; Order of Detention Pending Trial [ECF No. 23]. Two weeks later,

Padilla filed a motion to revoke his detention order, see Def.’s Mot. to Revoke Detention Order

[ECF No. 15] (“2021 Mot. for Release”), and this Court held an evidentiary hearing on May 3,

2021, see May 3, 2021 Min. Entry. The Court denied Padilla’s motion, finding by clear and

convincing evidence that “he poses a concrete, prospective threat to the safety of the community



                                                  3
           Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 4 of 16




that cannot be mitigated by any combination of release conditions.” Padilla, 538 F. Supp. 3d at

49.

         On December 27, 2022, Padilla filed a motion to dismiss Count Seven, which charges him

with obstruction of an official proceeding and aiding and abetting in violation of 18 U.S.C.

§§ 1512(c)(2) and 2. See Def.’s Mot. to Dismiss Count Seven of the Superseding Indictment [ECF

No. 60] (“Mot. to Dismiss”). On January 3, 2023, he filed a motion for discovery and an

evidentiary hearing in support of a selective prosecution claim, see Def.’s Mot. for Disc. & for

Evidentiary Hr’g in Supp. of Claim of Selective Prosecution [ECF No. 62] (“Disc. Mot.”), and a

motion to revoke his detention order and reopen the detention hearing, see Def.’s Mot. to Revoke

Current Detention Order & Reopen Detention Hr’g [ECF No. 63] (“Mot. for Release”). On

January 17, 2023, the government responded in opposition to all three motions. See Gov’t’s Opp’n

to Mot. to Dismiss [ECF No. 63]; Opp’n to Disc. Mot. [ECF No. 65]; Opp’n to Mot. for Release

[ECF No. 64]. Padilla filed a reply in support of his motion for release on January 31, 2023, see

Def.’s Reply to Opp’n to Mot. for Release [ECF No. 66] (“Reply”), but did not file a reply in

support of his other two motions. The motions are now ripe for decision.

                                      Motion to Dismiss Count Seven

         Padilla has moved to dismiss Count Seven of the indictment, which charges him with

obstruction of an official proceeding and aiding and abetting in violation of 18 U.S.C.

§§ 1512(c)(2) and 2, for “failure to state an offense.”2 Mot. to Dismiss at 1.

         A criminal defendant may move pursuant to Federal Rule of Criminal Procedure

12(b)(3)(B)(v) to dismiss the indictment against him for “failure to state an offense.” If the



         2 Padilla also briefly mentions the indictment’s alleged “lack of specificity” as a basis for dismissal under

Federal Rule of Criminal Procedure Rule 12(b)(3)(B)(iii), Mot. to Dismiss at 2, but he never explains the argument
further or even discusses it again in his brief. Accordingly, the Court will not address that argument.

                                                          4
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 5 of 16




statutory provision at issue does not cover the charged conduct, the indictment fails to state an

offense. See United States v. McHugh (McHugh I), 583 F. Supp. 3d 1, 10 (D.D.C. 2022). In

assessing whether to grant a motion to dismiss under Rule 12(b)(3)(B)(v), courts consider whether

the allegations in the indictment, assumed to be true, “would be sufficient to permit a jury to find

that the crimes charged were committed.” United States v. Bozell, Case No. 21-CR-216 (JDB),

2022 WL 474144, at *2 (D.D.C. Feb. 16, 2022) (quoting United States v. Bowdoin, 770 F. Supp.

2d 142, 146 (D.D.C. 2011)).

       Padilla argues—in nearly identical fashion to the other January 6 defendants in this Court

whose motions the Court has already denied—that his alleged conduct is not covered by

§ 1512(c)(2) because that section’s reach is limited by § 1512(c)(1). See Mot. to Dismiss at 2–7.

Section 1512(c) reads:

       (c) Whoever corruptly—

           (1) alters, destroys, mutilates, or conceals a record, document, or other object,
           or attempts to do so, with the intent to impair the object’s integrity or
           availability for use in an official proceeding; or

           (2) otherwise obstructs, influences, or impedes any official proceeding, or
           attempts to do so,

       shall be fined under this title or imprisoned not more than 20 years, or both.

Padilla contends that “[u]nder the statute’s plain language and structure, the most natural and

plausible reading of 18 U.S.C. §1512(c)(2) is that it covers acts that have the same kind of

obstructive impact as the listed forms of obstruction in § 1512(c)(1).” Mot. to Dismiss at 3. Thus,

because the government “has not alleged in the indictment or statement of facts that Mr. Padilla

took any action with respect to a document, record, or other object in order to corruptly obstruct,

impede, or influence Congress’s certification of the electoral college vote,” his charged conduct

cannot support a conviction under § 1512(c)(2). Id.

                                                 5
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 6 of 16




       Padilla then briefly analyzes the statutory history of § 1512(c), noting that the purpose of

the statute was to “criminalize any tampering with potential witnesses in official proceedings” in

the wake of the Enron scandal, and arguing that a memorandum authored by former Attorney

General William Barr in June 2018 supports that this was the intended purpose of the statute. See

Mot. to Dismiss at 3–6. Finally, Padilla cites United States v. Miller, a case from this District in

which the court held that “§ 1512(c)(2) must be interpreted as limited by subsection (c)(1), and

thus requires that the defendant have taken some action with respect to a document, record, or

other object in order to corruptly obstruct, impede or influence an official proceeding,” 589 F.

Supp. 3d 60, 78 (D.D.C. 2022), in support of his argument. Mot. to Dismiss at 6.

       As Padilla acknowledges, this Court “has not granted any motion for dismissal of 18 U.S.C.

§ 1512(c)(2) charges.” Mot. to Dismiss at 2. Instead, the Court has, on numerous occasions,

considered and declined to adopt the statutory construction argument Padilla advances here. See

United States v. McHugh (McHugh II), Crim. A. No. 21-453 (JDB), 2022 WL 1302880, at *2–12

(D.D.C. May 2, 2022); Bozell, 2022 WL 474144, at *5; United States v. Brock, Crim. A. No. 21-

140 (JDB), 2022 WL 3910549, at *2 (D.D.C. Aug. 31, 2022); United States v. Sheppard, Crim. A.

No. 21-203 (JDB), 2022 WL 17978837, at *4 (D.D.C. Dec. 28, 2022); see also United States v.

Grider, Crim. A. No. 21-022 (CKK), 2022 WL 3016775, at *3 & n.3 (D.D.C. July 29, 2022)

(collecting cases from other judges in this District concluding the same). This Court has already

spilled much ink on this issue and so will only briefly reiterate its reasoning here.

        First, the broad interpretation of § 1512(c) is the most natural reading of the text. The

word “otherwise,” which links § 1512(c)(1) and (2), ordinarily means “in a different way.”

McHugh II, 2022 WL 1302880, at *3 (citing Otherwise, Oxford English Dictionary (3d ed. 2004)).

Applying this ordinary meaning of “otherwise” yields a reading of § 1512(c)(2) that “prohibits



                                                  6
          Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 7 of 16




acts which obstruct an official proceeding ‘in a different way’ from those obstructive acts covered

by paragraph (c)(1).” Id. at *7. Thus, the acts proscribed by § 1512(c)(2) need not have the same

“obstructive impact” as those proscribed in § 1512(c)(1).

         Second, although the plain meaning of the statute is clear, which ends the inquiry, the

context and purpose of § 1512(c) also support a broader reading than that urged by Padilla. See

McHugh II, 2022 WL 1302880, at *7. Despite some overlap with conduct proscribed in other

parts of the statute, a broader reading of § 1512(c)(2) does not render those subsections duplicative:

“[b]y adding a new prohibition on direct obstruction to § 1512, Congress did not duplicate pre-

existing provisions, but instead expanded the statute to include additional forms of obstructive

conduct, necessarily creating overlap with the section’s other, narrower prohibitions.” Id. at *8

(emphases in original) (citation omitted). Such overlap is common in criminal law. Id. at *9.

Further, the legislative intent supports a broad reading of the statute—“§ 1512(c)(2)’s language

was likely adapted from the similar language of 18 U.S.C. §§ 1503(a) and 1505. And those two

statutes are expansive prohibitions on obstruction.” Id. at *10. Moreover, the narrower reading

of § 1512(c)(2) is implausible because there were several more straightforward ways for Congress

to craft its language to accomplish the meaning Padilla advances. See id. at *11. And the

legislative history does not strongly favor one reading over the other. See id. at *11–12.

         Padilla does not raise any novel arguments that would warrant the Court’s deviation from

its reasoning in other January 6 cases. Thus, the Court will deny Padilla’s motion to dismiss Count

Seven.

      Motion for Evidentiary Hearing and Discovery for Selective Prosecution Claim

         Padilla requests discovery and an evidentiary hearing in support of a selective prosecution

claim he intends to raise. See Disc. Mot. Padilla argues that he “is being subjected to disparate



                                                  7
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 8 of 16




prosecutorial treatment due to his political views and activism,” id. at 10, and “requests appropriate

and reasonable discovery in order to discover facts necessary to the litigation of the issue,” id. at

16. At the outset, he notes that “no selective prosecution claims by January 6th Defendants have

been granted to date, even in the request for discovery” and that “controlling law presents a high

hurdle for him to clear.” Id. at 1.

       A defendant may bring a selective prosecution claim under the equal protection component

of the Fifth Amendment. Despite its broad grant of prosecutorial discretion, the government may

not base the decision to prosecute on “an unjustifiable standard such as race, religion, or other

arbitrary classification.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (internal quotation

marks omitted). There is a “presumption that a prosecutor has not violated equal protection,” id. at

465, and a defendant must present “clear evidence to the contrary” to succeed on such a

claim, id. (internal quotation marks omitted). To make out a selective prosecution claim, a

defendant must show that the challenged prosecution policy “had a discriminatory effect and that

it was motivated by a discriminatory purpose.” Id. at 465 (internal quotation marks omitted).

       To demonstrate a discriminatory effect in prosecution decisions, “a defendant must show

that the Government afforded ‘different treatment’ to persons ‘similarly situated’ to him.” United

States v. Judd, 579 F. Supp. 3d 1, 4 (D.D.C. 2021) (quoting Armstrong, 517 U.S. at 470). “When

a person’s circumstances ‘present no distinguishable legitimate prosecutorial factors that might

justify’ different prosecutorial decisions between him and the defendant, that person is similarly

situated to the defendant.” Id. at 4 (quoting Branch Ministries v. Rossotti, 211 F.3d 137, 145 (D.C.

Cir. 2000)). Courts “‘narrowly’ interpret the phrase ‘similarly situated.’” Id. (quoting United

States v. Stone, 394 F. Supp. 3d. 1, 31 (D.D.C. 2019)).




                                                  8
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 9 of 16




       Courts impose a “correspondingly rigorous standard” for discovery in support of a claim

of selective prosecution. Armstrong, 517 U.S. at 468. A defendant must present “‘some evidence

tending to show the existence of the essential elements of the defense,’ discriminatory effect and

discriminatory intent.” Id. (quoting United States v. Berrios, 501 F.2d 1207, 1211 (2d Cir. 1974)).

       The thrust of Padilla’s selective prosecution argument is that “others of different class and

political persuasion fare better when their demonstration[s] of grievances are pressed in [a] similar

manner as were his.” Disc. Mot. at 2. He lists various protests in which he claims the protestors

were treated more favorably than he and other January 6 protestors were despite being similarly

situated. First, he cites climate protests that took place in 2021 in D.C., which were attended

predominantly by Native Americans, arguing that despite the “glaring” similarities between those

protests and the events of January 6—including assaults on officers and disruption of government

business—“the majority of persons arrested were either not charged at all or were ticketed and

released. None seem to have been charged with federal crimes.” Id. at 2–5. Next, he points to

the 2020 protests in Portland, noting that despite also featuring assaults on officers and damage to

government property, nearly all the charges against those protestors have been dismissed. Id. at

5–6.   Padilla then raises the 2018 protest of Justice Brett Kavanaugh’s Supreme Court

confirmation, wherein a crowd of protestors breached police barricades outside the Capitol while

then-Vice President Pence was inside presiding over the confirmation hearing; despite over 200

arrests, only one protestor was prosecuted in federal court. Id. at 7. Finally, Padilla notes that Ray

Epps and James Knowles, other protestors at the Capitol on January 6, have to date not been

arrested or charged in connection with their participation in the events of that day. Id. at 7–9.

       As Padilla acknowledges, this Court and others in this District have already denied similar

requests for discovery in support of selective prosecution claims in January 6 cases. See Brock,



                                                  9
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 10 of 16




2022 WL 3910549, at *11–12; Judd, 579 F. Supp. 3d at 3–9; see also United States v. Rhodes,

Crim. No. 22-cr-15 (APM), 2022 WL 3042200, at *4–5 (D.D.C. Aug. 2, 2022) (denying a motion

to dismiss based on selective prosecution). The defendants in those cases also drew comparisons

to the Portland protests, and the courts held that the Portland protestors were not similarly situated

to January 6 defendants. See Brock, 2022 WL 3910549, at *12; Judd, 579 F. Supp. 3d at 7–8;

Rhodes, 2022 WL 3042200, at *5. The courts differentiated the Portland protestors in part because

“the mob on January 6th . . . ‘endangered hundreds of federal officials in the Capitol complex,’

including Members of Congress and their staffs, Vice President Pence, and the United States

Capitol Police.” Brock, 2022 WL 3910549, at *12 (quoting Judd, 579 F. Supp. 3d at 8). “In

contrast, the Portland protests happened at night, when no federal employees were in the buildings

to be endangered.” Id.; accord Rhodes, 2022 WL 3042200, at *5 (noting that “the Portland attacks

occurred primarily at night and therefore put fewer people in danger” and that defendant failed to

identify any Portland protestor who was “involve[d] in a concerted plan to use force to oppose the

authority of the United States government and to obstruct an official proceeding” as was the case

for January 6).

       This Court and the Rhodes court also rejected comparisons between the January 6 Capitol

riots and the 2018 protests of Justice Kavanaugh’s confirmation: “although those who interfered

with recent Supreme Court confirmation hearings could be viewed as having sought to obstruct,

influence, or impede an official proceeding, their actions far more closely resemble genuine protest

than the actions of which [defendant] stands accused.” Rhodes, 2022 WL 3042200, at *5; accord

Brock, 2022 WL 3910549, at *12 (noting “the difference in violence, threat to citizen safety, and

scope” of the confirmation protests).




                                                 10
           Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 11 of 16




       Padilla’s other comparisons are similarly unavailing. He fails to assemble credible proof

of disparate treatment, instead drawing unwarranted conclusions based on anecdotal evidence.

Regarding the 2021 D.C. climate protests, Padilla merely states that “even a casual observer of the

American political scene could surmise that President Biden’s administration may be more

favorably disposed to climate protestors [and] Native American citizens . . . than to ‘stop the steal’

protestors and supporters of former president Trump,” Disc. Mot. at 2–3, without explaining why

or citing any specific evidence in support. And, as the government notes, “Padilla does not identify

any particular person that he claims is similarly situated, and fails to show that his comparators’

‘circumstances present no distinguishable legitimate prosecutorial factors that might justify

different prosecutorial decisions.’” Opp’n to Disc. Mot. at 6 (quoting Branch Ministries, 211 F.3d

at 145).     As with the Portland protests and the Kavanaugh confirmation protests, those

distinguishable prosecutorial factors include the scope and magnitude of violence and destruction.

       Padilla’s final comparisons to two other January 6 protestors, who have to date not been

charged in connection with their conduct on that day, fail for the simple reason that, by virtue of

their attendance at the Capitol that day, those protestors likely share the same political ideology as

Padilla. Although Padilla notes that “he has no knowledge of the political persuasion of these

individuals,” Disc. Mot. at 9, his argument is premised on the notion that everyone at the Capitol

on January 6 shared the same political beliefs that the government disfavors, and that the

government’s animosity towards those who hold those beliefs explains the harsher prosecution

decisions. Padilla has given the Court no reason to believe that Epps and Knowles hold a different

political ideology than Padilla such that the government chose to prosecute Padilla but not them.

Even if these were persuasive comparisons (and they are not), the government astutely notes that

“[m]any individuals have not yet been charged because the government has had to marshal an



                                                 11
        Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 12 of 16




unprecedented level of investigatory resources to identify and charge each defendant who

participated in the U.S. Capitol attack.” Opp’n to Disc. Mot. at 7.

       Padilla also fails to show evidence of discriminatory intent in the government’s charging

decisions. He mainly relies on “the national trends of political protest” and the commentary of

others who have “surmised a discriminatory purpose” from purportedly disparate treatment to

argue that “there is a systemic partisan political motivation within the FBI and the Justice

Department as a whole which is focused on Donald Trump and his January 6 supporters.” See

Disc. Mot. at 11–15.     But this Court has already rejected similarly anecdotal evidence as

insufficient to prove discriminatory purpose in a selective prosecution claim. In Brock, the Court

held that the defendant’s argument—that “the motive behind the claimed discrepancies in charging

is a bias in DOJ leadership in favor of liberal causes”—was too “conclusory” to be “evidence of

anything.” 2022 WL 3910549, at *12 (internal quotation marks omitted). As Armstrong counsels,

“personal conclusions based on anecdotal evidence” are not sufficient to prove discriminatory

intent in a selective prosecution claim. 517 U.S. at 470.

       In any event, Padilla’s assertion “runs counter to the facts.” Brock, 2022 WL 3910549, at

*12. As this Court observed in Brock, “[i]nitial prosecution decisions in both the Portland cases

and the January 6th cases, including charging January 6th protestors and dismissing cases against

Portland protestors, were made under Republican leadership,” undermining Padilla’s theory that

he and others at the Capitol on January 6 were selected for prosecution based on political bias. Id.

(emphasis added) (citing Judd, 579 F. Supp. 3d at 8 n.9); accord Opp’n to Disc. Mot. at 7–8.

       The Court therefore will deny Padilla’s motion for an evidentiary hearing and discovery in

support of a selective prosecution claim because he has failed to present “some evidence tending




                                                12
        Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 13 of 16




to show the existence of the essential elements of” such a claim. Armstrong, 517 U.S. at 470

(quoting Berrios, 501 F.2d at 1211).

             Motion to Revoke Detention Order and Reopen Detention Hearing

       Finally, Padilla has moved to revoke his current detention order and reopen the detention

hearing. See Mot. for Release. On March 31, 2021, Magistrate Judge Faruqui denied Padilla’s

oral motion for release from custody, finding that “he posed a significant danger to the community

and should be detained pending trial.” Id. at 4. Padilla then petitioned this Court to revoke his

detention order on April 15, 2021, see 2021 Mot. for Release, which the Court denied following

an evidentiary hearing, see Padilla, 538 F. Supp. 3d at 49. Padilla has now been detained for

almost two years. Mot. for Release at 4.

       In denying Padilla’s initial motion for release, the Court found that Padilla, although not a

flight risk, Padilla, 538 F. Supp. 3d at 48–49, posed a danger to the community based on his violent

conduct at the Capitol on January 6 and his troubling rhetoric after the fact, id. at 40–48. In

reaching this conclusion, the Court considered the nature and characteristics of the offense, the

weight of the evidence against Padilla, Padilla’s history and characteristics, and the nature and

seriousness of the danger posed by Padilla. See id. After considering all the evidence presented

at the hearing through the lens of these factors, the Court determined that “Padilla presents a

concrete, prospective threat to public safety that cannot be mitigated by any combination of release

conditions.” Id. at 48.

       Padilla now asks the Court to revisit that determination by reopening his detention hearing

and revoking his detention order. 18 U.S.C. § 3142(f) provides that

       [t]he hearing may be reopened, before or after a determination by the judicial
       officer, at any time before trial if the judicial officer finds that information exists
       that was not known to the movant at the time of the hearing and that has a material
       bearing on the issue whether there are conditions of release that will reasonably


                                                 13
          Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 14 of 16




         assure the appearance of such person as required and the safety of any other person
         and the community.

Another judge in this District—denying the same motion by another January 6 defendant—

interpreted “material bearing” to “refer to information that actually affects the Court’s decision

whether to detain the defendant pending trial.” United States v. Chansley, Case No. 21-cr-3 (RCL),

2021 WL 2809436, at *3 (D.D.C. July 6, 2021); accord United States v. Krol, Crim. A. No. 22-

110 (RC), 2022 WL 16948611, at *3 (D.D.C. Nov. 15, 2022) (applying the same definition). But

bare materiality is not sufficient—the new information must “relate in some significant or essential

way to the decision whether to detain.” United States v. Worrell, Case No. 1:21-cr-00292-RCL,

2021 WL 2366934, at *9 (D.D.C. June 9, 2021), appeal dismissed, No. 21-3040, 2021 WL

4765445 (D.C. Cir. Sept. 15, 2021); accord Krol, 2022 WL 16948611, at *3 (adopting the same

standard). Further, “[n]ew and material information . . . consists of something other than a

defendant’s own evaluation of his character or the strength of the case against him; instead, it must

consist of truly changed circumstances, something unexpected, or a significant event.” United

States v. Caldwell, Crim. A. No. 21-181 (CKK), 2022 WL 168343, at *6 (D.D.C. Jan. 19, 2022)

(quoting United States v. Lee, 451 F. Supp. 3d 1, 5 (D.D.C. 2020)).

         The only new circumstances Padilla raises in support of his renewed motion for release are

“the hardship experienced by his family as a result of his continued detention” and “his lack of

disciplinary infractions while in pretrial custody.” Opp’n to Mot. for Release at 6; accord Mot. for

Release at 4–5, 10–15.3 Padilla relitigates issues already raised at the previous detention hearing

and decided by the Court in an attempt to manufacture “new information relative to the detention

issue,” see Reply at 3–6, and dedicates a significant portion of his briefing to analyzing the same


         3 Padilla also raises for the first time that he is a member of the Cedar Ridge Seventh Day Adventist Church

in his community, Mot. for Release at 17, but since that fact was known to Padilla at the time of the previous detention
hearing, it cannot serve as a basis to reopen the hearing, see 18 U.S.C. § 3142(f).

                                                          14
            Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 15 of 16




factors the Court already weighed in its initial decision rather than explaining why the two new

circumstances should alter the Court’s prior determination, see Reply at 6–7; Mot. for Release at

8–23.

        The Court finds that the two new developments since the previous detention

determination—that Padilla’s family has suffered while he has been detained and that Padilla has

had no disciplinary infractions while in pretrial custody4—do not warrant disturbing the Court’s

previous decision to detain him. While these considerations are relevant in the decision to detain,

as they pertain to Padilla’s personal history and characteristics, they do not “relate i n some

significant or essential way to the decision.” Worrell, 2021 WL 2366934, at *9.

        Ultimately, although the developments relating to Padilla’s family are unfortunate and

saddening, and while it is commendable that Padilla has stayed out of trouble while in custody,

these factors do not alter the fact that Padilla exhibited very violent behavior on January 6. As the

Court noted in its previous decision,

        this Court is hard-pressed to believe that its orders would deter future acts of
        violence by Padilla when he was undeterred—and seemingly invigorated by—what
        he says transpired on January 6. In his own words, Padilla alleges that he was
        “beaten unconscious twice, sprayed more times than [he] care[s] to count, received
        strikes from batons that should have been lethal,” and yet he continued for hours to
        try to stop the certification of the election and emerged steadfast in his belief that
        “what happened” at the Capitol “is what needs to be done again and again.”

Padilla, 538 F. Supp. 3d at 47 (citation omitted). And as was the case the last time the Court

weighed these considerations, “[t]he Court recognizes Padilla’s commitment to his family and the

effect that his detention has had on them. But the Court is not reasonably assured that Padilla can




        4
          It is also worth noting that this circumstance is true for every defendant who exhibits good behavior in
custody. Every defendant’s family suffers in some way or another due to that defendant’s incarceration. But the
Court certainly cannot grant every such defendant pretrial release from custody.

                                                       15
         Case 1:21-cr-00214-JDB Document 68 Filed 02/13/23 Page 16 of 16




be trusted to abide by any conditions of release that might be imposed instead of pretrial detention.”

Id. (internal quotation marks omitted).

       The Court will accordingly deny Padilla’s motion to reopen his detention hearing and

revoke his detention order.

                                            Conclusion

       For the foregoing reasons, each of Padilla’s pretrial motions is denied. A separate Order

consistent with this decision accompanies this Memorandum Opinion.



                                                                                   /s/
                                                                            JOHN D. BATES
                                                                        United States District Judge
Dated: February 13, 2023




                                                 16
